                            Case 18-15121-EPK               Doc 10        Filed 05/16/18          Page 1 of 3
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15121-EPK
Maurice Symonette, Kurt Marin, and Clide                                                                   Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-9                  User: youngt                       Page 1 of 1                          Date Rcvd: May 14, 2018
                                      Form ID: CGFD15                    Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 16, 2018.
db              Maurice Symonette, Kurt Marin, and Clide Ward T,   2033 Linton Lake Dr #B,
                 Delray Beach, FL 33445
94502345        Albertelli Law,   c/o Robert K. Bowen,   Attn: HSBC Bank USA NA,   POB 23049,   Tampa FL 33623
94502344        Ocwen Loan Servicing LLC,   POB 252690,   West Palm Beach, FL 3341-4738
94502343        Washington Mutual Mortgage Co,   POB 78148,   West Palm Beach FL 78140

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: FLDEPREV.COM May 15 2018 04:58:00      Florida Department of Revenue,   POB 6668,
                 Bankruptcy Division,    Ft Lauderdale, FL 32314-6668
ust            +E-mail/Text: USTPRegion21.MM.ECF@usdoj.gov May 15 2018 01:29:05      Office of the US Trustee,
                 51 S.W. 1st Ave.,    Suite 1204,   Miami, FL 33130-1614
                                                                                             TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 16, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 14, 2018 at the address(es) listed below:
              Deborah Menotte    menottetrustee@gmail.com, ecf.alert+Menotte@titlexi.com
              Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov
                                                                                            TOTAL: 2
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CGFD15 (10/1/16)




ORDERED in the Southern District of Florida on May 14, 2018




                                                                                                  Erik P. Kimball
                                                                                                  United States Bankruptcy Judge



                                               United States Bankruptcy Court
                                                  Southern District of Florida
                                                    www.flsb.uscourts.gov
                                                                                                                Case Number: 18−15121−EPK
                                                                                                                Chapter: 7

In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Maurice Symonette, Kurt Marin, and Clide Ward T
2033 Linton Lake Dr #B
Delray Beach, FL 33445

EIN: 82−7101308


                                                    ORDER DISMISSING CASE
     At the time of filing of the above referenced case on April 30, 2018, the debtor was provided notice
by the court of filing requirements and the deadline(s) to correct deficiencies.

1) As of the date of this order, the debtor has failed to correct the following deficiency(ies) by the required
05/08/2018 deadline:

                     A corporation, partnership, trust or other business entity cannot file a petition on its own
                     behalf without counsel (Local Rule 9010−1(B)(1)).

                     The petition was not accompanied by a corporate ownership statement as required by
                     Bankruptcy Rule 1007(a)(1).

2) The following additional requirements remain outstanding:
                       Official Bankruptcy Form 206Sum, A Summary of Your Assets and Liabilities
                       Official Bankruptcy Form 206A/B, Schedule A/B: Property
                       Official Bankruptcy Form 206D, Schedule D: Creditors Who Hold Claims Secured by
                       Property
                       Official Bankruptcy Form 206E/F, Schedule E/F: Creditors Who Have Unsecured Claims
                       Official Bankruptcy Form 206G, Schedule G: Executory Contracts and Unexpired Leases
                       Official Bankruptcy Form 206H, Schedule H: Your Codebtors
                       Official Bankruptcy Form 106Dec, Declaration About an Individual Debtor's Schedules
                       Official Bankruptcy Form 207, Statement of Financial Affairs for Individuals Filing for
                       Bankruptcy
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     Because the debtor has failed to meet the deadline(s) in paragraph (1) above for the listed deficient
items, it is
ORDERED that:

 1. In accordance with 11 U.S.C. § 105(a), this case is dismissed with prejudice as to the filing of any
    bankruptcy case in any federal bankruptcy court in the United States of America by the
    above−named debtor for 180 days from entry of this order, or the expiration of any prejudice period
    set in any previous order, whichever is later.

 2. All pending motions are denied as moot.

 3. (If applicable) the trustee shall file a final report within 14 days of entry of this order.

 4. (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, Flagler Waterview Building,
    1515 N Flagler Dr, Room 801, West Palm Beach FL 33401, $0.00 for the balance of the filing fee as
    required by Local Rule 1017−2(E). Payment must be made in cash, money order or cashier's or
    "official" check. Any funds remaining with the trustee shall be applied to this balance in accordance
    with the Bankruptcy Code and Local Rule 1017−2(F), unless otherwise ordered by the court. The
    court will not entertain a motion for reconsideration of this order unless all unpaid fees are paid at the
    time the motion is filed.

 5. In accordance with Local Rule 1002−1(B), the clerk of court is directed to refuse to accept for filing
    any future voluntary petitions submitted by this debtor if the refiling violates a prior order of the court
    or if the petition is accompanied by an Application to Pay Filing Fee in Installments and filing fees
    remain due from any previous case filed by the debtor.
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The clerk shall serve a copy of this order on all parties of record.
